     Case 1:23-cv-00853-DAE       Document 263      Filed 12/16/24    Page 1 of 3




                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                             AUSTIN DIVISION

UNITED STATES OF AMERICA,                  §
Plaintiff                                  §
                                           §
v.                                         §
                                           §    No. 1:23-CV-00853-DAE
GREG ABBOTT, IN HIS                        §
CAPACITY AS GOVERNOR OF                    §
THE STATE OF TEXAS; and THE                §
STATE OF TEXAS,                            §
Defendants                                 §


                              SCHEDULING ORDER

      In light of the parties’ status report, Dkt. 261, in which they jointly proposed

deadlines for completing fact and expert discovery, the Court enters the following

scheduling order:

         •   Amended initial disclosures of both parties are due by Monday,

             February 10, 2025. Written discovery requests, requests for admission,

             and/or notices of fact depositions may not be served until after this date.

         •   The United States shall identify in writing no later than Monday, March

             17, 2025, any new case-in-chief experts, and any previously identified

             experts expected to disclose new or amended case-in-chief opinions,

             including a summary of the anticipated subject matter.

         •   Any new or amended case-in-chief expert reports of the United States

             are due by Monday, March 24, 2025.




                                           1
Case 1:23-cv-00853-DAE      Document 263     Filed 12/16/24   Page 2 of 3




   •   Defendants shall identify in writing no later than Monday, April 21,

       2025, any new experts, and any previously identified experts expected

       to disclose new or amended opinions, including a summary of the

       anticipated subject-matter.

   •   Any new or amended expert reports of Defendants are due by Monday,

       April 28, 2025.

   •   The United States shall identify in writing no later than Friday, May 9,

       2025, any new rebuttal experts, and any previously identified rebuttal

       experts expected to disclose new or amended rebuttal opinions,

       including a summary of the anticipated subject-matter.

   •   Any new or amended rebuttal expert reports of the United States are

       due by Friday, May 16, 2025.

   •   All discovery shall close on Friday, May 30, 2025.

   •   The parties agree not to notice the deposition of any individual that was

       previously deposed in any earlier phase of this case, except: (1) if such

       individual is newly identified as an expert or rebuttal expert pursuant

       to Fed. R. Civ. P. 26(a)(2) or submits a new or amended expert report or

       rebuttal expert report; (2) if such individual is designated by the

       opposing party to testify in response to a 30(b)(6) deposition notice

       served after February 10, 2025; or (3) as reasonably necessary to

       discover information relating to events occurring after the close of the

       prior discovery period on July 19, 2024.



                                     2
Case 1:23-cv-00853-DAE     Document 263    Filed 12/16/24   Page 3 of 3




   •   The parties agree that no deposition shall be noticed prior to the

       exchange of amended initial disclosures on February 10, 2025.

SIGNED December 16, 2024.



                               DUSTIN M. HOWELL
                               UNITED STATES MAGISTRATE JUDGE




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